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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

 Jessica Rosa,                              )
                                            )
               Plaintiff(s),                )
 v.                                         ) Case No.: 2:24-cv-00013-MHT-
                                            ) CWB
 Auburn University-Montgomery,              )
 and Auburn University,                     )
                                            )
               Defendant(s).


                               Plaintiff's Bench Brief

      COMES NOW, Jessica Rosa, by and through her attorneys of record and

responds to this Honorable Court’s Order (Doc. 41) requesting the Plaintiff to brief

two issues with citations and applicable caselaw, as follows:

1.      WHETHER TOBIAS MENSE’S ALLEGED STATEMENT TO
        PLAINTIFF THAT SCOTT PARSONS HAD TOLD HIM THAT
        PLAINTIFF SHOULD NOT HAVE BEEN ATHLETIC DIRECTOR
        BECAUSE SHE WAS FEMALE, GAY, AND TOO YOUNG IS
        ADMISSIBLE UNDER THE FEDERAL RULES OF EVIDENCE,
        AND IF SO, UNDER WHICH RULE(S)

        At issue in this case is the admissiblity of what Rosa says Mense told her

that Parsons told him. On its face, Rosa’s statement appears to be double or even

triple hearsay. However, analizying the statement in parts, as required by the

Federal Rules of Evidence, each statement standing alone is admissible and is

therefore admissible as a whole. “Hearsay within hearsay is not excluded by the
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rule against hearsay if each part of the combined statements conforms with an

exception [or exclusion] to the rule.” Fed. R. Evid. 805. See Brown v. Ala. Dept of

Trnspt, 597 F.3d 1160, 1175 n8 (11th Cir. 2010) (finding alleged triple hearsay

statements admissible when the declarants were agents of the opposing party);

Rivera v. Palm Beach Cty, 2021 U.S. Dist. LEXIS 51376, *12 (S.D. Fla. March 15,

2021) (indicating the admissiblity of triple hearsay if the burden were carried by

the presenter of the evidence).

         a. Rosa’s testimony about what Mense told her Parsons said is not
            hearsay.

      Out of court statements made by a party opponent are not hearsay. Fed. R.

Evid. 801(d)(2). Also, out of court statements offered for some purpose other than

the truth of the matter are not hearsay. Fed. R. Evid. 801(c)(2). Rosa’s testimony

recounting what Mense told her satisfies both of these exclusions and is therefore

not hearsay.

      In her deposition, Rosa testified she did not believe she could report to Scott

Parsons because she knew from Tobias Mense that Parsons did not support Rosa as

AUM’s Athletic Director because she was too young, female, and gay. (Rosa Depo

Doc. 21-1 p 22, 81:8 – 82:5). During this time, Mense and Parsons were both

higher level executives for AUM, with Mense serving as AUM’s Chief

Information Officer and Parsons serving as AUM’s Chief Financial Officer and


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supervising the Chief Human Resources Officer Leslie Meadows. (Stockton Depo

16:3-06, Parsons Depo Doc. 21-25 p 8, 24:12-16). A statement by a party’s agent,

made within the scope of the agent’s employment is admissible and is not hearsay.

Fed. R. Evid. 801(d)(2)(D). The Eleventh Circuit has labeled higher level

executives as “clearly” agents of a company. City of Tuscaloosa v. Harcros

Chems., 158 F.3d 548, 557 (11th Cir. 1998). Because both Mense and Parsons were

higher level executives, they were both agents of AUM, leaving for consideration

whether the statements were made within the scope of their employment.

      “[S]tatements made by a supervisory official who plays some role in the

decision making process are generally admissible. Zaben v. Air Prods. & Chems.,

129 F.3d 1453, 1456 (11th Cir. 1997). Executive positions such as Chief

Information Officer and Chief Financial Officer, are positions that reflect the

service of the overall business plan of a company. Therefore, statements about

personnel decisions and beliefs about employee qualifications are within the scope

of the agency or employment. Accordingly, Parsons’s statement speaking to his

belief that Rosa should not be Athletic Director because she was too young,

female, and gay is within his scope of employment as AUM’s CFO. In his

deposition, Parsons testified as the CFO he was in charge of the financial

management of AUM but also supervised Leslie Meadows, Chief Human

Resources Officer. (Parsons Depo Doc.21-25 p 8, 24:14-16; Meadows Depo Doc.

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21-3 p 6, 15:17). In this role, it would be reasonable, and in fact expected, that his

opinion as to the qualifications of AUM’s Athletic Director was relevant and

within the scope of his employment. In addition to all of the statements set out in

Section 2 infra, Parsons testified he had knowledge of an employee issue with

Rosa and that HR “reported” to him, was very quiet about it, he could not recall

details, but it was typical for HR to work with legal if the issue “was of any

magnitude.” (Parsons Depo 18:4-19-11). Accordingly, Parsons’s statement related

to Rosa qualifications was well within the purview of his agency, is admissible,

and is not hearsay.

      Mense was the CIO, an executive tasked with managing a cohesive and

integrated administrative environment. Sharing Parsons’s opinion of Rosa with her

would be within the scope of his employment. Further, the statement could be seen

as a “direct warning” by another member of management “as to the attitude,

intentions, and/or policy of the higher-ups in management[,]” and therefore, not

“second hand repetitions[.]” Hybert v. Hearst Corp., 900 F2d 1050, 1053 (7th Cir.

1990). Accordingly, Mense’s statement to Rosa is within the purview of his

agency, is admissible, and not hearsay.

      Rosa’s ability to testify to the statement is based on the effect the statement

had on her state of mind and is a relevant issue in this case. “Generally, an out-of-

court statement admitted to show its effect on the hearer is not hearsay.” United
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Sates v. Rivera, 780 F.3d 1084, 1092 (11th Cir. 2015). Rosa’s state of mind related

to Parsons and any statement Parsons may have made was relevant as to why she

would not have wanted to be in his reporting chain, to the reasonableness of her

belief that AUM retaliated against her, and the motive behind the decision to

terminate her. Relying on this reasoning, Judge Emily Marks recently admitted a

plaintiff’s statement concerning what a supervisor told her about an alleged

company policy. Judge Marks stated “[r]ather than proving the truth of the matter

asserted, the statement could evidence [of the plaintiff’s] state of mind when she

made her complaint . . . , which is relevant to the first element of her retaliation

claim. . . . Whether [the declarant], in fact, made the statement is a question of fact

for the jury.” Key v. Hyundai Motor Mfg. Ala., LLC, et al, No. 2:19-cv-767-ECM,

2023 U.S. Dist. LEXIS 22895, at *45 N12 (M.D. Ala. Feb. 10, 2023).

Accordingly, Rosa’s state of mind is relevant to why she would not have wanted

Parsons to manage her, her belief she was retaliated against, and most importantly,

why AUM believed the plan was not manageable. Because it speaks to the effect

on the hearer, Mense’s statement to Rosa is not hearsay and is admissible.

          b. Mense’s Statement, if made at trial, would be admissible and
             therefore should be considered in the summary judgment record.

   Even assuming the Court were to decide that Mense’s statement was not within

the scope of his employment, any hearsay objection would be cured at trial. The


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Eleventh Circuit has stated unequivocally, “[t]he most obvious way that hearsay

testimony can be reduced to admissible form is to have the hearsay declarant

testify directly to the matter at trial.” Jones v. UPS Ground Freight, 683 F.2d 1283,

1294 (11th Cir. 2012). If the Court were to determine that Mense’s statement to

Rosa was hearsay, finding it was either out of his scope of employment or not

relevant to Rosa’s state of mind, it would still be admissible. Because Rosa can call

Mense to testify live at trial, she can cure the hearsay. The Court can consider

inadmissible hearsay statements if the statement can be reduced to an admissible

form at trial. Id. at 1293-94. (“[A] district court may consider a hearsay statement

in passing on a motion for summary judgment if the statement could be reduced to

admissible evidence at trial or reduced to admissible form.”). Plaintiff intends to

call Tobias Mense at trial and has properly disclosed him. Because his statement to

Rosa can be reduced to live, admissible testimony, the statement may be

considered as a part of the summary judgment record.

         c. Parsons’s Statement, even if hearsay, is admissible as an
            exception.

      Either Rosa or Menese could testify to Parsons’s statement because the

statement is admissible as a hearsay exception. Any statement concerning the

“declarant’s then-existing state of mind (such as motive, intent, or plan)” or mental

feeling is “not excluded by the rule against hearsay[.]. Fed. R. Evid. 803. As an


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executive top level official for AUM, to whom HR reports, a reasonable jury may

infer that Parsons’s feelings toward Rosa and her “qualifications” were relevant to

any subsequent employment actions taken by AUM. This is further supported by

the evidence discussed below in Section 2 infra. Accordingly, Parsons’s mental

state, motive, or intent is relevant making his statement admissible under the

hearsay exceptions.

        For the multiple reasons, rules, and precedent set out above, the statement at

issue is admissible in this matter and should be considered with the remainder of

the summary judgment record.



2.      WHAT EVIDENCE IN THE RECORD, IF ANY, SUPPORTS
        PLAINTIFF’S ARGUMENT THAT PARSON’S INFLUENCED
        LESLIE MEADOWS AND/OR THE DECISION-MAKING PROCESS
        MORE GENERALLY WITH REGARDS TO PLAINTIFF’S
        TERMINATION, AND, IF THERE IS SUCH EVIDENCE, WHETHER
        THE EVIDENCE IS SUFFICIENT TO CREATE A GENUINE
        DISUPTE AS TO ANY MATERIAL FACT.

     The summary judgment record contains sufficent circumstantial evidence that a

reasonable juror could rely on to conclude Parsons influnced Leslie Meadows

and/or the decision making process to terminate Rosa. The record evidence

includes the following:

        • Scott Parsons directly supervised Human Resources employee Leslie

           Meadows (Parsons Depo Doc. 21-25 p 4, 9:9-10).

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   • Leslie Meadows office is close in proximity to Parsons’s office (Parsons

      Depo Doc. 21-25 p 4, 9:6-8).

   • Parsons became CFO and moved to the AUM camups at approximatly

      the same time the university promoted Rosa to Athletic Director

      (Parsons Depo Doc. 21-25 p 4, 10:1-9) (Rosa Depo Doc. 21-1 p 117).

   • Parsons played golf with Stockton – the Chancelor. (Parsons Depo. Doc.

      21-25 p 5, 12:5-6).

   • When he first moved to the AUM campus and Rosa became Athletic

      Director, Parsons attended an Auburn Football game with Stockton.

      (Parsons Depo. Doc. 21-25 p 5, 13:8-10).

   • When Leslie Meadows first discussed Rosa’s consensual relationship

      disclosures with the University, she told Rosa they were receptive and

      were reviewing the information. (Meadows Depo Doc. 21-3 p 22, 78:3-

      79:6).

   • Parsons was aware of Rosa’s termination and that Leslie Meadows was

      working through Rosa’s issues “because HR reported to [him]. (Parsons

      Depo Doc. 21-25 p 7, 18-19:14).

   • Parsons testifed he was informed about the issues related to Rosa

      because “HR reported to him[.]” (Parsons Depo. Doc. 21-25 p 7, 18:4-

      15).

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   • Parsons denied discussing the details “as it evolved” but stated Leslie

      Meadows reported it to him and it was “not uncommon” for her to report

      the matters to him. (Parsons Depo Doc. 21-25 p 7, 18:13-18).

   • Parsons could not recall the specifics of any conversation but knew they

      were working with Auburn’s general counsel like with any issue that

      was “of any magnitude.” (Parsons Depo Doc. 21-25 p 7, 18:19-19:14).

   • Parsons had knowledge that Rosa disclosed a consensual relationship.

      (Parsons Depo Doc. 21-25 p 7, 21:9-22:8).

   • Meadows discussed the details of Rosa’s disclosure and relationship

      with Parsons between March 7 and March 16. (Meadows Depo Doc. 21-

      3 p 26, 94:20-95:4)

   • Parsons was shocked, in disbelif, and stated to Meadows that he did not

      know how the conflict could be managed. (Meadows Depo Doc. 21-3 p

      26, 95:1-11).

   • Meadows and Parsons spoke on a daily basis. (Parsons Depo Doc. 21-25

      p 8, 23:6-12).

   • Parsons was aware there were meetings with Rosa. (Parsons Depo Doc.

      21-25 p 9, 26:18-27:23.

   • Parsons had “a lot of regular intersection with Leslie [Meadows] and Dr.

      Stockton.” (Parsons Depo Doc. 21-25 p 9, 27:12-14).

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    • Parsons made assumptions Meadows and Stockton were meeting about

       Rosa. (Parsons Depo Doc. 21-25 p 9, 27:3-23).

    • By March 16, after she had discusssions with Parsons, Meadows

       changed her position toward Rosa stating she had serious questions

       about Rosa’s leadership and judgment. (Meadows Depo Doc. 21-3 p 26,

       94:1-8).

    • A reasonable Jury could infer that Meadows made her recommendation

       based on the disapproval and statements of her direct supervisor,

       Parsons.

    • Parsons as CFO is in charge of financial management of the university.

       (Parsons Depo Doc. 21-25 p 8, 24:12-16).

    • It is reasonable to infer that the CFO in charge of financial management

       of the university would be concerned about litigation or

       fundraising/benefactors as they both affect the financial status of the

       university.

    • Less than one year into Parsons’s role as CFO, a donor complained

       about the university’s support of gay individuals and withdrew his

       financial bequest, Stockton told Rosa she didn’t have anything “crazy”

       on her facebook, and asked she not tell anyone. (Rosa Depo Doc. 21-1 p

       11, 35:15-37:23).

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       • Meadows testified she, Stockton and Parsons (she stated “we” in

          response to a question about Stockton and Parsons) discussed the

          compliance letter before she made the recommendation to terminated

          Rosa. (Meadows Depo Doc. 21-3 p 34, 126:6-14).

       • Parsons was involved in discussions about the potential management

          plan for Chasen and Scottie, a heterosexual couple involved with

          athletics, after, somone else pointed out they were in a relationship.

          (Parsons Depo Doc. 21-25 p 9, 28:10-29:11).

       • Parsons, as a member of senior staff acknowldged he could be involved

          in employment discussions, despite not being in meetings for any actual

          investigation. (Parsons Depo Doc. 21-25 p 10, 30:17-32:1)

       • Given Parsons’s involvment in other management plan discussions, his

          position as senior staff, Meadows’s statement concerning his response to

          Rosa’s disclosure, and Meadows’s change from receptive to finding a

          plan to questioning Rosa’s judgment, a reasonable juror could infer

          Parsons’s opinion on the matter changed Meadows’s judgment.

      Considering all of the deposition statements above, Rosa’s statement

concerning Parsons’s opinion of her qualifications because she was gay and

female, and drawing all reasonable inferences in favor of Rosa, there is sufficient

evidence which a reasonable juror could find Parsons’s opinion of Rosa and

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disapproval to Meadows had an effect on Meadows’s decision to recommend

Rosa’s termination. “A genuine issue [of fact] exists if the evidence, viewed in the

light most favorable to the employee, would allow a reasonable jury to infer that

the employer engaged in intentional [discrimination or] retaliation.” Berry v.

Crestwood Healthcare LP, 84 F4th 1300, 1320 (11th Cir. 2023). Accordingly, the

evidence is sufficient to survive summary judgment.




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                         CERTIFICATE OF SERVICE

      I certify that on July 2, 2025, I filed a copy of the foregoing using the CM/ECF
system, which will serve a copy to all counsel of record.

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